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1700 G Street NW,
Washington, DC 20552


February 18, 2019
Via ECF

The Honorable Thomas I. Vanaskie, Special Master
U.S. District Court, Middle District of Pennsylvania
William J. Nealon Federal Bldg. & U.S. Courthouse
235 N. Washington Avenue
Scranton, PA 18503

       Re:       CFPB v. Navient Corp., et al., Case No. 3:17-CV-00101-RDM
Dear Judge Vanaskie:
        As discussed during the February 14, 2019 hearing, the Bureau submits this letter
concerning Defendants’ failure to search the emails of key custodians responsible for reviews and
risk analyses relating to enrollment of borrowers in forbearance and in income-driven repayment
(“IDR”) plans, which were done for investors or trustees of student loan asset-backed securitization
trusts.
        1.      The Bureau was not in a position to know the identities of appropriate
custodians, and Defendants chose most custodians unilaterally: On May 19, 2017, the Bureau
propounded request for production #6 to Defendant Navient Corporation seeking “[a]ll documents
relating to any evaluation, auditing, monitoring, oversight, due diligence, quality assurance, or
compliance review relating to any aspect of the servicing or collection of student loans.” A99-100. 1
And on June 5, 2017, the Bureau propounded request for production #6 to Defendant Navient
Solutions LLC seeking “[a]ll documents relating to any evaluation, auditing, monitoring, oversight,
due diligence, quality assurance, or compliance review (including those conducted by or on behalf
of an investor or trustee of a loan securitization trust) relating to communications with or enrollment
of borrowers in forbearance or any type of income-driven repayment plan.” A129.
        Through early 2018 – over the course of extensive conferrals – Defendants continuously
resisted the production of almost all internal emails. See Doc. 74 (Bureau letter dated Feb. 27,
2018). 2 When the issue went before the Court for resolution in April 2018, Defendants premised
their resistance to producing almost all internal emails on the fact that they would have to review
approximately one million documents, gathered from custodians whom they had unilaterally
identified. The Court determined that the internal emails needed to be reviewed and produced, and
ordered the parties “to meet and decide on mutually agreeable search terms that eliminate from the
universe of potentially responsive documents that must be hand reviewed those emails and
attachments that are unlikely to contain relevant information.” See Doc. 88 (May 4, 2018 Opinion),
at 19.


       1
           “A__” refers to a page in the appendix to this letter.
       2
         The request to Navient Corporation was not separately presented to the Court because
Navient Corporation had written that request #6 directed to it was “duplicative of Request Nos. 1
and 4 to Pioneer and Request No. 6 to Navient Solutions, and direct[ed] CFPB to the responses to
those Requests.” A100.
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         During the ensuing negotiations, the Bureau requested lists of custodians in order to assess
whether there were any obvious omissions. The Bureau noted that Defendants had included no low-
level employees among their custodians, nor had they included the CEO, so the parties negotiated
the addition of four random low-level employees as well as the CEO. But the Bureau made clear
that it was not in a position to further confirm the completeness of Defendants’ list of custodians,
writing in a May 16, 2018 letter that “we do not understand how we can identify the relevant
custodians, as that information is within Defendants’ control.” A164.
       2.      Defendants’ productions contain documents – excluding emails – related to
securitization: Defendants clearly understood that the concept of securitization was within the
scope of the Bureau’s requests for production, because they produced many documents (but no
emails from key custodians) on the topic.
        Specifically, the document productions contain materials on securitization from both
Navient Solutions and Navient Corporation, including minutes of the Finance and Operations
committee for the Navient Corporation board, presentation materials by the Chief Financial Officer
to the Navient Corporation board, minutes of the Navient Corporation board and audit committee,
annual financial statements, and powerpoint documents from Navient Solutions. These are all
freestanding documents that appear to have been collected from hard drives, unattached to any
emails.
        These documents reveal that the topic of securitization is indeed relevant to the Bureau’s
claims in this case. One of the Bureau’s claims is that Navient Corporation and Navient Solutions
(collectively, “Navient”) steered borrowers experiencing financial distress that was not short-term
or temporary into forbearance, instead of adequately advising them about IDR plans that were more
beneficial.
        The non-email documents produced by Defendants point to a possible reason that Navient
steered borrowers into forbearance. Some of the federal loans eligible for IDR plans were privately-
funded through a program known as the Federal Family Education Loan Program (“FFELP”). For
years, there has been concern from investors that placing FFELP borrowers into IDR plans would
be problematic because the securitized FFELP loans would not be repaid by their expected maturity
dates, due to the longer repayment terms associated with IDR plans. For example, those documents
show that, in 2015, Moody’s Investors Service published a Request for Comments on proposed
changes to its rating methodology for securities backed by FFELP loans. See A7-10. 3 Moody’s
seems to have been re-evaluating its ratings methodology because it had observed a reduction in
repayment activity on FFELP loans, and pointed to IDR plans as a potential cause. See A7.
Moody’s specifically noted that IDR plans would generate a risk that the securities would miss their
final maturity dates, which meant the loans would not all be paid back by the date that they were
originally supposed to be repaid. Id.




       3
           Only Moody’s announcement of the Request for Comments is included in the appendix to
this letter. The full Request for Comments is linked from
https://www.moodys.com/research/Moodys-proposes-changes-to-approach-to-rating-US-ABS-
FFELP--PR_329808 (free registration required).


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        Navient submitted a comment letter in response to Moody’s proposal on October 19, 2015.
See A12-82. 4 That letter makes it clear that Navient – for many years prior to 2015 – engaged in
significant reviews and risk management analyses, including for investors and trustees, relating to
the enrollment of borrowers in forbearance and IDR plans. See, e.g., A13 (“Because repayment
rates have been increasing since 2014, deferment and forbearance usage has been declining since
2008, and FFELP loans enrolled in the IBR plan pay down over time, we urge Moody’s not to use
repayment trends from the period of 2008 through 2013 as the expected base case scenario in the
revised methodology.”). Navient’s comment letter was produced as a freestanding document within
Navient’s productions to the Bureau, demonstrating that Defendants correctly understood that
documents relating to their loan securitization activities were responsive to the Bureau’s requests.
          In addition, the Bureau’s review of publicly available materials demonstrates that the issue
of extending maturity dates of securitized loans was a concern to Navient well before 2015. For
example, Navient Corporation’s 2012 10-K demonstrates that the final maturity date of securitized
loans were being amended. See A3 (“On January 13, 2012, the FFELP ABCP Facility was amended
. . . . [T]he amendment extends the final maturity date by one year to January 9, 2015.”). The 10-K
also notes that failure to meet the maturity date can result in the collateral being “foreclosed upon.”
A5. 5 It appears to be the case that such extensions of maturity dates may have been occurring
because of IDR enrollment, as Navient suggested in subsequent 10-Ks. See, e.g., A85-86 (2015 10-
K of Navient Corporation) (“Higher or lower than expected prepayments of loans could change the
expected net interest income the Company receives as the holder of the Residual Interests of
securitization trusts . . . . FFELP Loan borrowers may be eligible for various existing income-based
repayment programs under which borrowers can qualify for reduced or zero monthly payment or
even debt forgiveness after a certain number of years of repayment. . . . [I]f the prepayment rate is
especially slow and certain rights of the sellers or the servicer are not exercised or are insufficient or
other action is not taken to counter the slower prepayment rate, the trust’s bonds may not be repaid
by their legal final maturity date(s), which could result in an event of default under the underlying
securitization agreements.”) (emphasis omitted). 6
        At bottom, the Bureau has not received emails relating to reviews and risk management
analyses done for investors and trustees of loan securitization trusts, despite the Bureau’s requests
for such information and the relevance of the information to this case. The fact that emails for key
custodians were not searched on this issue is a significant deficiency in Defendants’ productions.
        3.      The complaint need not have specifically mentioned securitization for the
Bureau to be entitled to discovery on the issue: In the Third Circuit, “[i]t is well recognized that
the federal rules allow broad and liberal discovery.” Pacitti v. Macy’s, 193 F.3d 766, 777 (3d Cir.
1999). Thus, “[r]elevancy is broadly construed for discovery purposes and is not limited to the

       4
          The full document is also available at
https://navient.com/assets/about/investors/debtasset/Navient-Comments-to-Moody%27s-Proposed-
FFELP-ABS-Rating-Methodology.pdf.
       5
          The full 10-K from 2012 is available at:
https://navient.com/assets/about/investors/shareholder/annual-reports/201210K.pdf. Only excerpts
are included in the appendix to this letter.
       6
         The full 10-K from 2015 is available at:
https://navient.com/assets/about/investors/shareholder/annual-reports/NAVI_2015_Form_10-K_2-
25-16_Final.pdf. Only excerpts are included in the appendix to this letter.
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precise issues set out in the pleadings.” Frank Brunckhorst Co. v. Ihm, 2012 WL 5250399, at *3
(E.D. Pa. Oct. 23, 2012) (quotation omitted); accord, e.g., United States ex rel Krahling v. Merck &
Co., 2016 WL 7042203, at *2 (E.D. Pa. Feb. 5, 2016). Accordingly, “discovery requests may be
deemed relevant if there is any possibility that the information may be relevant to the general
subject matter of the action.” American Health Sys., Inc. v. Liberty Health Sys., 1991 WL 30726, at
*2 (E.D. Pa. 1991).
        Under this standard, discovery of emails relating to securitization should be allowed. An
issue in the case is whether Navient derived an unreasonable advantage through its conduct of
steering borrowers into forbearance, by fostering in borrowers a reliance on Navient to give
adequate advice about repayment options, and then exploiting that reliance to its benefit by not
adequately advising borrowers about IDR plans. Another issue in the case is the problematic
recertification practices of Navient with respect to borrowers who did enroll in IDR plans. The
Bureau is entitled to explore whether Navient’s conduct was motivated by concerns from investors
about the impact of IDR plans on the value of securitized student loans.
        4.      Requiring searches of new custodians is appropriate where the responding
party’s selection of custodians is found to be insufficient: The burden of selecting appropriate
custodians for document productions lies with the responding party. See, e.g., California
Earthquake Auth. v. Metro. W. Secs., LLC, 2012 WL 5880345, at *5 (E.D. Cal. Nov. 21, 2012)
(“[T]he burden to identify appropriate custodians is on [the producing party], not [the requesting
party].”); “The Sedona Principles, Third Edition: Best Practices, Recommendations & Principles for
Addressing Electronic Document Production,” The Sedona Conference Journal 19:1, at 124 (2018)
(“a responding party cannot unilaterally demand the requesting party submit proposed search terms
and a list of custodians against which to run the search terms, or use the requesting party’s
reluctance to provide search terms as a shield to defend its own inadequate search terms”).
        Indeed, Defendants represented in their written responses and objections to the Bureau’s
requests for production that the custodians they would search were “principally responsible” for the
issues that are the subject matter of the Bureau’s requests. See, e.g., A131. The Bureau relied on
those representations without agreeing that Defendants identified the appropriate custodians. Yet
Defendants apparently did not do an email search from any custodian who was principally
responsible for loan securitization. Instead, Defendants merely produced some non-email
documents (such as board meeting materials and publicly available shareholder information)
relating to securitization.
        In situations where a responding party’s choice of custodians is deemed to be deficient,
courts have often required searches of additional custodians. See, e.g., Mt. Hawley Ins. Co. v.
Felman Prod., Inc., 269 F.R.D. 609, 617 (S.D. W.Va. 2010) (compelling production from nine
additional custodians). A search of additional custodians is especially appropriate where
deficiencies have been discovered, and the amount in controversy is significant. See, e.g., Greater
New York Taxi Ass’n v. City of New York, 2017 WL 4012051, at *5 (S.D.N.Y. Sept. 11, 2017)
(compelling production from four additional custodians, in addition to previous searches of 31
custodians, “[g]iven the seriousness of the allegations” and the fact that “tens of millions of dollars”
in damages were at stake); City of Sterling Heights Gen. Employees’ Ret. Sys. v. Prudential Fin.,
Inc., 2015 WL 5055241, at *3 (D.N.J. Aug. 21, 2015) (“allowing plaintiffs a moderate number of
additional custodians does not seem disproportionate to the size and scale of this action”).
        Defendants have argued that they have already produced a large volume of documents in
this case, but that argument says nothing about whether the custodians they chose were the correct
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ones, nor whether they omitted custodians who should have been included. Simply put, “[t]he mere
fact that many documents have already been produced is not sufficient to establish that there are no
other relevant materials to be found.” Family Wireless #1, LLC v. Auto. Techs., Inc., 2016 WL
2930887, at *3 (D. Conn. May 19, 2016) (compelling production from three additional custodians).
Indeed, “the total number of documents ‘harvested’ is not a particularly compelling statistic by
itself, because it says nothing about the possible significance of the documents and may in fact
reflect an inefficient search protocol.” Assured Guar. Mun. Corp. v. UBS Real Estate Sec. Inc., 2012
WL 5927379, at *2 (S.D.N.Y. Nov. 21, 2012); accord, e.g., Dryer v. Nat’l Football League, 2012
WL 12895563, at *2, 7 (D. Minn. May 21, 2012) (ordering search of additional custodian despite
producing party’s argument that hundreds of thousands of documents had already been produced).
        As one court noted in requiring searches of additional custodians, a plaintiff can come into
possession of information in discovery demonstrating that the defendants’ custodian choices were
deficient, and requiring searches of additional custodians is appropriate in such a situation:
       Although the Court is aware that the parties did agree upon certain custodians, it is
       always possible that Plaintiff, who has less information about Defendants’ documents
       and custodians than Defendants have, will identify additional custodians after some
       process of education. Given the unequal information of the parties, the Court finds that
       Plaintiff’s request is reasonable. And given the clearly relevant nature of the
       information sought, the Court orders Defendants to produce this information as
       requested by Plaintiff.
Shenwick v. Twitter, Inc., 2018 WL 1801290, at *3 (N.D. Cal. Apr. 12, 2018). This is particularly
the case here: the Bureau was not in a position to know the identities of the appropriate custodians
relating to securitization issues, but it has now become apparent that Defendants did not search the
emails of any key custodians on this issue.
        Accordingly, the Bureau respectfully requests that Defendants be required to conduct email
searches of the key custodians responsible for reviews and risk analyses done for investors or
trustees of student loan asset-backed securitization trusts containing FFELP loans, including
reviews and risk analyses relating to the impact of enrollment of FFELP borrowers in IDR plans.


                                                      Respectfully submitted,
                                                      /s/ Nicholas Jabbour




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